Case 4:24-cv-00681-ALM-AGD             Document 58        Filed 10/24/24     Page 1 of 9 PageID #:
                                             846



                                  UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

     PHILIP FLOYD                                    §
          Plaintiff,                                 §
                                                     §
     v.                                              §
                                                     §        Civil Action No. 4:24-CV-00681
     ANDREA K. BOURESSA, In her official             §
     capacity as a State of Texas District Court     §
     Judge for Collin County, Texas, RYAN            §
     HACKNEY, PATRICK YARBOROUGH,                    §
     ELIAS DRAGON, MMWKM ADVISORS,                   §
     LLC, SETH KRETZER AND JIM                       §
     SKINNER, In his official capacity as Sheriff    §
     of Collin County, Texas,                        §
            Defendants.                              §


         DEFENDANTS RYAN HACKNEY’S, PATRICK YARBOROUGH’S, ELIAS
      DRAGON’S, AND MMWKM ADVISORS, LLC’S REPLY IN SUPPORT OF THEIR
      FIRST AMENDED MOTION TO DISMISS UNDER RULES 12(B)(1) AND 12(B)(6)


           Defendants Ryan Hackney and Patrick Yarborough (“the Attorney Defendants”) and

 Defendants Eli Dragon or MMWKM Advisors, LLC (“the Private Party Defendants”) (together

 with the Attorney Defendants, “the MMKWM Defendants”) file this Reply in support of their First

 Amended Motion to Dismiss Under Rules 12(b)(1) and 12(b)(6)1 (the “Motion”).

                                         INTRODUCTION

           As the MMWKM Defendants pointed out in their Motion to Dismiss, Floyd’s Complaint2

 is a bad faith abuse of the federal justice system, repackaging Floyd’s evidentiary complaints about

 two state court rulings by Judge Andrea Bouressa – which have been affirmed on appeal as correct

 – as a purported violation of his civil rights. Rather than the rebut the arguments in the Motion,




 1
     Doc. 46.
 2
     Doc. 34, “Plaintiff’s First Amended Complaint for Violation of Civil Rights.”
Case 4:24-cv-00681-ALM-AGD             Document 58       Filed 10/24/24      Page 2 of 9 PageID #:
                                             847



 Floyd’s Response3 in fact clarifies that all he is really bringing is a sufficiency-of-the-evidence

 complaint about state court rulings – which this Court is not even authorized to review. To

 emphasize this point, nearly half of Floyd’s Response is made up of a line-by-line listing of

 evidentiary gripes over Judge Bouressa’s Findings of Fact and Conclusions of Law from the

 Underlying Lawsuit.4

        Floyd’s Response fails to respond to the majority of arguments raised in the Motion—and

 where he does respond, his arguments are entirely flawed. The MMWKM Defendants’ Motion

 raises four distinct grounds for dismissal:

        (1) The Court lacks subject matter jurisdiction under the Rooker-Feldman Doctrine,
            because the claims are a collateral attack on a state court judgment.

        (2) Floyd has not stated a viable Section 1983 claim because the MMWKM Defendants
            are not state actors.

        (3) Floyd has failed to state a plausible claim that he has been deprived of a constitutional
            right, because: (a) the rulings he complains of have already been affirmed by the Texas
            Courts of Appeals; (b) he has not stated a cognizable claim for harm; and (c) he has
            failed to specify, then or now, what evidence Judge Bouressa prevented him from
            presenting that could have possibly resulted in the vacating of the arbitration award.

        (4) Floyd’s claims against Defendants Hackney and Yarborough are barred by Attorney
            Immunity.

        Floyd fails to address the first three arguments with any argument or authority beyond

 conclusory denials. Because these arguments are essentially unrebutted, all of Floyd’s claims must

 be dismissed.

        To the extent the Response makes any comprehensible argument, it primarily focuses on

 the Attorney Immunity grounds for dismissal, based on a convoluted argument that boils down to

 this: no witness was presented at the August 1, 2022 hearing to testify as to the arbitration award


 3
  Doc. 56.
 4
  Collin County District Court Cause No. 471-02423-2021 (“the Underlying Lawsuit”).
                                               2
 Defendants Ryan Hackney’s, Patrick Yarborough’s, Elias Dragon’s, and MMWKM Advisors,
 LLC’s Reply in Support of their First Amended Motion to Dismiss
Case 4:24-cv-00681-ALM-AGD             Document 58        Filed 10/24/24       Page 3 of 9 PageID #:
                                             848



 against Floyd, so the Findings of Fact and Conclusions of Law (“FOFCOL”) filed by Judge

 Bouressa must have somehow been false, and therefore the actions of the Attorney Defendants in

 filing a different set of proposed FOFCOL that mentioned the arbitration award against Floyd

 could not have been in the course of acting as attorneys for their clients, even though Judge

 Bouressa did not adopt the FOFCOL proposed by the Attorney Defendants. Putting aside the

 problem that this argument makes no sense, it is also based on a fundamentally false premise –

 that the Defendants were required to present a witness on the arbitration award at the August 1,

 2022 hearing. Public documents show that the arbitration award had been filed with the Court in a

 verified pleading on May 17, 2022, so there was zero reason to present testimony about it at the

 hearing on August 1, 2022. The fact that Floyd focuses so heavily on such a transparently false

 premise illustrates the substantive void at the heart of Floyd’s Complaint.

    A. FLOYD’S RESPONSE FAILS TO ADDRESS THREE GROUNDS FOR
       DISMISSAL


        Ignoring the facts and the law does not mean they do not exist. Rather, as the Local Rules

 provide, if Plaintiff opposes dismissal of his claims, he must file a response including “a citation

 of authorities upon which the party relies.” See LOCAL RULE CV-7(d). “A party’s failure to oppose

 a motion in the manner prescribed herein creates a presumption that the party does not controvert

 the facts set out by the movant and has no evidence to offer in opposition to the motion.”

        In his Response, Floyd does not address or present any countervailing legal authority to

 most of the legal positions of the MMWKM Defendants. Specifically, he presents no argument or

 legal basis (or citation to authorities) for disputing the following bases for dismissal presented in

 the Motion—and under the Local Rules, this indicates Floyd has no opposition to dismissal:



                                               3
 Defendants Ryan Hackney’s, Patrick Yarborough’s, Elias Dragon’s, and MMWKM Advisors,
 LLC’s Reply in Support of their First Amended Motion to Dismiss
Case 4:24-cv-00681-ALM-AGD             Document 58        Filed 10/24/24      Page 4 of 9 PageID #:
                                             849



    (1) Floyd does not address the MMWKM Defendants’ jurisdictional basis for dismissal
        under the Rooker-Feldman doctrine.

        In the Motion, the MMWKM Defendants show that Floyd’s claims fail against all

 Defendants because this Court lacks subject matter jurisdiction. “Under the Rooker-Feldman

 doctrine, ‘federal district courts lack jurisdiction to entertain collateral attacks’ on state-court

 judgments.” Batista v. Carter, 796 Fed. Appx. 209, (Mem)–210 (5th Cir. 2020). Because all of

 Floyd’s claims are inextricably intertwined with his claim that Judge Bouressa’s rulings are based

 on insufficient evidence under Texas law, and because this Court lacks jurisdiction to review the

 rulings in that state court proceeding, all of Floyd’s claims must be dismissed.

        Floyd’s Response does not address jurisdiction—aside from an unexplained and

 conclusory statement that “Defendant is simply mistaken,” that “Count 2 is based on a clear

 violation of both 42 U.S.C. § 1982 [sic] and 42 U.S.C. § 1985(2), Conspiracy to interfere with

 civil rights by fabrication of evidence” and “The complaint states a cause of action for a conspiracy

 under Texas law as well as 42 U.S.C. § 1985(2).” Floyd does not provide any argument or

 opposition to the application of the Rooker-Feldman doctrine, and this lack of a response creates

 a presumption that the party does not controvert the facts set out by the movant and has no evidence

 to offer in opposition to the motion. See LOCAL RULE CV-7(d).

    (2) Floyd does not address his failure to state a viable Section 1983 claim because the
        MMWKM Defendants are not state actors.

        In the Motion, the MMWKM Defendants point out that “In order to assert a claim for

 damages for violation of federal constitutional rights under 42 U.S.C. § 1983, a plaintiff must set

 forth facts in support of the required elements of a § 1983 action: (1) that he has been deprived of

 a right secured by the Constitution or laws of the United States; and (2) that the defendants

 deprived him of such right while acting under color of law.” Toliver v. Braddy, No.

                                               4
 Defendants Ryan Hackney’s, Patrick Yarborough’s, Elias Dragon’s, and MMWKM Advisors,
 LLC’s Reply in Support of their First Amended Motion to Dismiss
Case 4:24-cv-00681-ALM-AGD             Document 58        Filed 10/24/24      Page 5 of 9 PageID #:
                                             850



 420CV00132ALMCAN, 2021 WL 1086176, at *3 (E.D. Tex. Feb. 11, 2021), report and

 recommendation adopted, No. 4:20-CV-132, 2021 WL 1061386 (E.D. Tex. Mar. 19, 2021)

 (emphasis added).

        Floyd does not even attempt to argue that the MMWKM Defendants were acting under

 color of law. Nor do his case citations provide any support for such an argument—the cases he

 does cite (for his argument that the MMWKM Defendants “fabricated evident” and therefore are

 subject to Section 1983) all involve state actors: Napue v. Illinois, 360 U.S. 264 (1959) (the

 Assistant State’s Attorney was accused of being complicit in the provision of false testimony);5

 United States v. Cabrera, 22 Cr. 10 (NRB) (S.D.N.Y. Mar. 5, 2024) (alleging that NYPD

 Detective Ierna fabricated evidence); Barnes v. City of New York, 68 F.4th 123 (2d Cir. 2023)

 (police officers were accused of providing false testimony and fabricated evidence). In short, Floyd

 provides no argument that Section 1983 could apply to the MMWKM Defendants, and this lack

 of a response creates a presumption that he does not controvert the facts set out by the movant and

 has no evidence to offer in opposition to the motion. See LOCAL RULE CV-7(d).

     (3) Floyd does not address the nature of the constitutional right he alleges he was deprived
         of as part of his Section 1983 claim.

        In their Motion, the MMWKM Defendants provide three bases why Floyd has failed to

 state a plausible claim that he has been deprived of a constitutional right, as is required by Section

 1983. See Motion at 18–20 (citing Toliver, 2021 WL 1086176, at *3). The three bases were: that




 5
  Also, Floyd misrepresents the Napue decision—though he cites it for the proposition that “It is
 well established that fabrication of evidence is a 42 U.S.C. § 1983 violation,”5 Napue does not
 mention Section 1983 (or its predecessors) a single time—and in fact, the Napue decision
 predates the statute entirely. See generally Napue v. Illinois, 360 U.S. 264 (1959); see also 42
 U.S.C. § 1983 (listing the history of the Statute as “R.S. §1979; Pub. L. 96–170, §1, Dec. 29,
 1979, 93 Stat. 1284; Pub. L. 104–317, title III, §309(c), Oct. 19, 1996, 110 Stat. 3853.”).
                                                   5
 Defendants Ryan Hackney’s, Patrick Yarborough’s, Elias Dragon’s, and MMWKM Advisors,
 LLC’s Reply in Support of their First Amended Motion to Dismiss
Case 4:24-cv-00681-ALM-AGD              Document 58         Filed 10/24/24       Page 6 of 9 PageID #:
                                              851



 Floyd’s allegations are based on an incorrect presumption that Judge Bouressa’s rulings were

 incorrect under Texas law (but J. Bouressa has been repeatedly affirmed); that he has not stated a

 cognizable claim for harm; and that he has failed to state with specificity what evidence he was

 purportedly prevented from presenting by Judge Bouressa’s ruling. See Motion at 18–20.

         Floyd fails to address any of these three grounds. His Response, like his Complaint, states

 only that his “due process” rights were violated without responding to any of the Motion’s three

 bases. Floyd’s failure to even state which evidence he was prevented from presenting stands out

 in particular, because (as discussed above), he spends six pages of his Response rehashing

 evidentiary disputes from the state court litigation – but in all of his attempts he has never identified

 the purported evidence that would have resulted in the vacating of the arbitration award. See

 Response at 9–14. Floyd’s lack of a response creates a presumption that he does not controvert the

 facts set out by the movant and has no evidence to offer in opposition to the motion. See LOCAL

 RULE CV-7(d).

     B. FLOYD’S ATTORNEY IMMUNITY RESPONSE IS BASED ON A FALSE
        PREMISE


         The Attorney Defendants are immune from Floyd’s claims because his claims all concern

 actions they took as attorneys in the course of representing their clients, Eli Dragon and MMWKM

 Advisors, LLC. Floyd’s Response attempts to argue that the Attorney Defendants could not have

 been acting as attorneys while representing their clients in this matter, because, Floyd argues, the

 Attorney Defendants encouraged Judge Bouressa to “fabricate evidence” by entering a FOFCOL

 stating that there was an enforceable arbitration award although no witness had been called at the




                                               6
 Defendants Ryan Hackney’s, Patrick Yarborough’s, Elias Dragon’s, and MMWKM Advisors,
 LLC’s Reply in Support of their First Amended Motion to Dismiss
Case 4:24-cv-00681-ALM-AGD             Document 58         Filed 10/24/24      Page 7 of 9 PageID #:
                                             852



 August 1, 2022 hearing in Judge Bouressa’s Court to testify that the arbitration award exists.6

 Floyd makes clear in his conclusion that this argument is his central premise:

        “To summarize Plaintiff’s argument, on August 1, 2022, to comply with the
        requirements of constitutionally mandated due process rights under the 5th and 14th
        Amendments to the United States Constitution, the movants in the underlying case,
        herein Defendants Elias Dragon and MMWKM Advisors LLC, were required to
        put on a by witness testimony evidence of an arbitration award. Neither Elias
        Dragon or a representative of MMWKM Advisors LLC, appeared in any capacity
        and as a result no arbitration award was entered into the Report’s Record. That is
        what Plaintiff means when he says there is no evidence in the record.”

 Floyd’s Response at 14-15.

        It is helpful of Floyd to summarize his argument in this way, because it illustrates how

 utterly groundless his claims are in this case. For starters, it makes clear that his arguments are

 simply based on a complaint about the sufficiency of the evidence in the court’s order confirming

 the arbitration award – a state law matter that this Court lacks subject matter jurisdiction to review,

 and which does not state a cognizable harm giving rise to a Section 1983 Claim. But even more

 simply, his argument is demonstrably wrong. Judge Bouressa’s order does not state that evidence

 of the arbitration award was presented at the hearing on August 1, 2022 because the award had

 been in evidence for months at that point. The MMWKM Defendants had filed the arbitration

 award in a Verified Application to Confirm Arbitration Award on May 17, 2022, as parties

 routinely do when moving to confirm an arbitration award. The Court may take judicial notice of

 this fact because it was filed as a matter of public record. See Morris v. Hearst Trust, 500 F.3d

 454, 461 n. 9 (5th Cir. 2007) (noting that a court may take judicial notice of matters of public



 6
   Floyd acknowledges that his assertion in his First Amended Complaint that Judge Bouressa
 adopted the FOFCOL proposed by the MMWKM Defendants was false, but he pivots to a
 nonsensical claim that the fact that Judge Bouressa independently drafted FOFCOL is somehow
 itself evidence of a conspiracy. Response at 5.
                                                 7
 Defendants Ryan Hackney’s, Patrick Yarborough’s, Elias Dragon’s, and MMWKM Advisors,
 LLC’s Reply in Support of their First Amended Motion to Dismiss
Case 4:24-cv-00681-ALM-AGD            Document 58       Filed 10/24/24      Page 8 of 9 PageID #:
                                            853



 record). The Verified Application is attached as Exhibit 1; it is not submitted as evidence, but so

 that the Court may take judicial notice of a public record demonstrating that Floyd has

 misrepresented yet another material fact before the Court.

        Floyd never contested the existence of the arbitration award in the underlying proceeding;

 his argument in Judge Bouressa’s Court was that the arbitrator who issued the award, Judge Anne

 Ashby, was corrupt, although he has never identified, then or since, any “corrupt acts” by Judge

 Ashby other than legal rulings she issued against him. There was no dispute in the underlying

 proceeding that the arbitration award was before the court, and therefore no reason that anyone

 would provide testimony about it at the hearing on August 1, 2022. Floyd’s assertion that the

 MMWKM Defendants were required to present testimony about the arbitration award at that

 hearing – which he has summarized in his Response as the central basis for his claims – has simply

 no basis in fact or law.

        Because Floyd’s Response to the attorney immunity argument is based on a blatant

 misrepresentation of the public record, and because all of his claims against the Attorney

 Defendants clearly concern the performance of legal work for clients, the claims against the

 Attorney Defendants should all be dismissed.

                                         CONCLUSION

        For the reasons discussed above and in the underlying Motion, Defendants request that the

 Court grant their Motion and dismiss Floyd’s claims against Defendants Ryan Hackney, Patrick

 Yarborough, Eli Dragon, and MMWKM Advisors, LLC pursuant to Rules 12(b)(1) and 12(b)(6).




                                               8
 Defendants Ryan Hackney’s, Patrick Yarborough’s, Elias Dragon’s, and MMWKM Advisors,
 LLC’s Reply in Support of their First Amended Motion to Dismiss
Case 4:24-cv-00681-ALM-AGD            Document 58        Filed 10/24/24      Page 9 of 9 PageID #:
                                            854



 Dated: October 24, 2024                               Respectfully submitted,

                                                      AHMAD, ZAVITSANOS & MENSING PLLC


                                                      /s/ Colin B. Phillips
                                                      Colin B. Phillips
                                                      Texas Bar No. 24105937
                                                      1221 McKinney St., Suite 2500
                                                      Houston, Texas 77010
                                                      Tel: (713) 655-1101
                                                      Fax: (713) 655-0062
                                                      cphillips@azalaw.com

                                                      Attorney-in-Charge for Defendant
 OF COUNSEL:

 Ryan Hackney
 Texas Bar No. 24069850
 AHMAD, ZAVITSANOS & MENSING, P.L.L.C.
 1221 McKinney St., Suite 2500
 Houston, Texas 77010
 Tel: (713) 655-1101
 Fax: (713) 655-0062
 rhackney@azalaw.com

 Patrick Yarborough
 Texas Bar No. 24084129
 FOSTER YARBOROUGH PLLC
 917 Franklin St., Suite 220
 Houston, Texas 77002
 Tel: (713) 331-5254
 Fax: (713) 513-5202
 patrick@fosteryarborough.com


                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 24, 2024, a true and correct copy of this document has been
 filed electronically via the Court’s CM/ECF filing system and subsequently all counsel in this
 matter deemed to accept service electronically will be notified via the Court’s CM/ECF filing
 system.

                                                      /s/ Colin Phillips
                                                      Colin Phillips

                                               9
 Defendants Ryan Hackney’s, Patrick Yarborough’s, Elias Dragon’s, and MMWKM Advisors,
 LLC’s Reply in Support of their First Amended Motion to Dismiss
